Case 3:19-cr-00083-S Document 4 Filed 02/21/19 Page1iof1i PagelD13

  

IN THE UNITED STATES DISTRICT COURT" # ee
FOR THE NORTHERN DISTRICT OF TEAS 2) PH 1:03

 

DALLASDIVISION 2
UNITED STATES OF AMERICA cEPUTY cvenx__U—<
V. No, 3.\N-C@-%3-3

RUEL M. HAMLTON
ORDER

Before the Court is the Government’s Motion to Seal Indictment in the above-
captioned criminal case. The Court GRANTS the motion.

IT IS THEREFORE ORDERED that the indictment be sealed until such time as
defendant Ruel M. Hamilton has been apprehended and have made an initial appearance
in federal court, or until further order of the Court.

IT IS FURTHER ORDERED that the case against the defendants be unsealed
upon defendant Ruel M. Henderson apprehension and initial appearance in federal

court.

IT IS FURTHER ORDERED that this order and the accompanying moti

sealed. ee
SIGNED on this O | day of February,

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United of ited Stites Magistrate Jidge SN

  

Order
